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   9

  10                         UNITED STATES DISTRICT COURT
  11                       CENTRAL DISTRICT OF CALIFORNIA
  12
       KLAUBER BROTHERS, INC., a New                  Case No.: 2:21-cv-03116-DOC-DFM
  13   York corporation,                              Hon. Douglas F. McCormick Presiding
  14
       Plaintiff,
  15                                              STIPULATED PROTECTIVE
                                                  ORDER
  16   v.
  17   FASHION NOVA, LLC, a California
  18   limited liability company; TIC TOC
       INC., a California corporation; JUJUBE
  19
       FASHION, INC., a California
  20   corporation; LAC BLEU, INC., a
       California corporation; and DOES 1
  21
       through 10,
  22
       Defendants.
  23

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  1    1.      INTRODUCTION
  2            1.1    PURPOSES AND LIMITATIONS
  3            Discovery in this action is likely to involve production of confidential,
  4    proprietary, or private information for which special protection from public
  5    disclosure and from use for any purpose other than prosecuting this litigation may
  6    be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  7    enter the following Stipulated Protective Order. The parties acknowledge that this
  8    Order does not confer blanket protections on all disclosures or responses to
  9    discovery and that the protection it affords from public disclosure and use extends
 10    only to the limited information or items that are entitled to confidential treatment
 11    under the applicable legal principles. The parties further acknowledge, as set forth
 12    in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 13    file confidential information under seal; Civil Local Rule 79-5 sets forth the
 14    procedures that must be followed and the standards that will be applied when a party
 15    seeks permission from the court to file material under seal.
 16            1.2   GOOD CAUSE STATEMENT
 17            It is the intent of the parties and the Court that information will not be
 18    designated as confidential for tactical reasons in this case and that nothing shall be
 19    designated without a good faith belief that there is good cause why it should not be
 20    part of the public record of this case. This case involved the alleged infringement of
 21    Plaintiff’s copyrighted lace textile designs. An aspect of the case is Plaintiff’s
 22    damages, which may include Plaintiff’s lost income resulting from Defendants’
 23    alleged infringement and Defendant’s revenue and profits realized from the alleged
 24    infringement. Examples of confidential information that the parties may seek to
 25    protect from unrestricted or unprotected disclosure include:
 26         a. Information that is the subject of a non-disclosure or confidentiality
 27            agreement or obligation;
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  1         b. The names, or other information tending to reveal the identity of a party’s
  2            supplier, vendor, designer, distributor, or customer;
  3         c. Agreements with third-parties, including license agreements, distributor
  4            agreements, design agreements, development agreements, sales agreements,
  5            or service agreements;
  6         d. Information related to budgets, sales, profits, costs (including overhead,
  7            whether specifically allocated or otherwise), margins, licensing of technology
  8            or designs, product pricing, or other internal financial/accounting information,
  9            including non-public information related to financial condition or
 10            performance and income or other non-public tax information;
 11         e. Information related to internal operations including personnel information;
 12         f. Information related to past, current and future market analyses and business
 13            and marketing development, including plans, strategies, forecasts and
 14            competition; and
 15         g. Trade secrets (as defined either by the jurisdiction in which the information is
 16            located or by the State of California, whichever definition may be broader).
 17            Unrestricted or unprotected disclosure of such confidential technical,
 18    commercial or personal information would result in prejudice or harm to the
 19    producing party by revealing the producing party’s competitive confidential
 20    information, which has been developed at the expense of the producing party and
 21    which represents valuable tangible and intangible assets of that party. Additionally,
 22    privacy interests must be safeguarded. Accordingly, the parties respectfully submit
 23    that there is good cause for the entry of this Protective Order.
 24    The parties agree, subject to the Court’s approval, that the following terms and
 25    conditions shall apply to this civil action.
 26    2.      DEFINITIONS
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  1           2.1    Action: Klauber Brothers, Inc. v. Fashion Nova, LLC, et al. Case No.:
  2    2:21-cv-03116-DOC-DFM.
  3           2.2    Challenging Party: a Party or Non-Party that challenges the
  4    designation of information or items under this Order.
  5    2.3    “CONFIDENTIAL” Information or Items: information (regardless of how it
  6    is generated, stored or maintained) or tangible things that qualify for protection
  7    under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
  8    Cause Statement.
  9           2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 10    their support staff).
 11           2.5    Designating Party: a Party or Non-Party that designates information or
 12    items that it produces in disclosures or in responses to discovery as
 13    “CONFIDENTIAL.”
 14           2.6    Disclosure or Discovery Material: all items or information, regardless
 15    of the medium or manner in which it is generated, stored, or maintained (including,
 16    among other things, testimony, transcripts, and tangible things), that are produced or
 17    generated in disclosures or responses to discovery in this matter.
 18           2.7    Expert: a person with specialized knowledge or experience in a matter
 19    pertinent to the litigation who has been retained by a Party or its counsel to serve as
 20    an expert witness or as a consultant in this Action.
 21           2.8    House Counsel: attorneys who are employees of a party to this Action.
 22    House Counsel does not include Outside Counsel of Record or any other outside
 23    counsel.
 24           2.9    Non-Party: any natural person, partnership, corporation, association, or
 25    other legal entity not named as a Party to this action.
 26           2.10 Outside Counsel of Record: attorneys who are not employees of a
 27    party to this Action but are retained to represent or advise a party to this Action and
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  1    have appeared in this Action on behalf of that party or are affiliated with a law firm
  2    which has appeared on behalf of that party, and includes support staff.
  3          2.11 Party: any party to this Action, including all of its officers, directors,
  4    employees, consultants, retained experts, and Outside Counsel of Record (and their
  5    support staffs).
  6          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  7    Discovery Material in this Action.
  8          2.13 Professional Vendors: persons or entities that provide litigation
  9    support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 10    demonstrations, and organizing, storing, or retrieving data in any form or medium)
 11    and their employees and subcontractors.
 12          2.14 Protected Material: any Disclosure or Discovery Material that is
 13    designated as “CONFIDENTIAL.”
 14          2.15 Receiving Party: a Party that receives Disclosure or Discovery
 15    Material from a Producing Party.
 16    3.    SCOPE
 17          The protections conferred by this Stipulation and Order cover not only
 18    Protected Material (as defined above), but also (1) any information copied or
 19    extracted from Protected Material; (2) all copies, excerpts, summaries, or
 20    compilations of Protected Material; and (3) any testimony, conversations, or
 21    presentations by Parties or their Counsel that might reveal Protected Material.
 22          Any use of Protected Material at trial will be governed by the orders of the
 23    trial judge. This Order does not govern the use of Protected Material at trial.
 24    4.    DURATION
 25          Even after final disposition of this litigation, the confidentiality obligations
 26    imposed by this Order will remain in effect until a Designating Party agrees
 27    otherwise in writing or a court order otherwise directs. Final disposition will be
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  1    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  2    or without prejudice; and (2) final judgment herein after the completion and
  3    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  4    including the time limits for filing any motions or applications for extension of time
  5    pursuant to applicable law.
  6    5.    DESIGNATING PROTECTED MATERIAL
  7          5.1    Exercise of Restraint and Care in Designating Material for Protection.
  8    Each Party or Non-Party that designates information or items for protection under
  9    this Order must take care to limit any such designation to specific material that
 10    qualifies under the appropriate standards. The Designating Party must designate for
 11    protection only those parts of material, documents, items, or oral or written
 12    communications that qualify so that other portions of the material, documents,
 13    items, or communications for which protection is not warranted are not swept
 14    unjustifiably within the ambit of this Order.
 15          Mass, indiscriminate, or routinized designations are prohibited. Designations
 16    that are shown to be clearly unjustified or that have been made for an improper
 17    purpose (e.g., to unnecessarily encumber the case development process or to impose
 18    unnecessary expenses and burdens on other parties) may expose the Designating
 19    Party to sanctions.
 20          If it comes to a Designating Party’s attention that information or items that it
 21    designated for protection do not qualify for protection, that Designating Party must
 22    promptly notify all other Parties that it is withdrawing the inapplicable designation.
 23          5.2    Manner and Timing of Designations. Except as otherwise provided in
 24    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 25    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 26    under this Order must be clearly so designated before the material is disclosed or
 27    produced.
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  1          Designation in conformity with this Order requires:
  2          (a) for information in documentary form (e.g., paper or electronic documents,
  3    but excluding transcripts of depositions or other pretrial or trial proceedings), that
  4    the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
  5    “CONFIDENTIAL legend”), to each page that contains protected material. If only a
  6    portion or portions of the material on a page qualifies for protection, the Producing
  7    Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  8    markings in the margins).
  9          A Party or Non-Party that makes original documents available for inspection
 10    need not designate them for protection until after the inspecting Party has indicated
 11    which documents it would like copied and produced. During the inspection and
 12    before the designation, all of the material made available for inspection will be
 13    deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 14    documents it wants copied and produced, the Producing Party must determine which
 15    documents, or portions thereof, qualify for protection under this Order. Then, before
 16    producing the specified documents, the Producing Party must affix the
 17    “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
 18    portion or portions of the material on a page qualifies for protection, the Producing
 19    Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 20    markings in the margins).
 21          (b) for testimony given in depositions that the Designating Party identify the
 22    Disclosure or Discovery Material on the record, before the close of the deposition all
 23    protected testimony.
 24          (c) for information produced in some form other than documentary and for
 25    any other tangible items, that the Producing Party affix in a prominent place on the
 26    exterior of the container or containers in which the information is stored the legend
 27    “CONFIDENTIAL.” If only a portion or portions of the information warrants
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  1    protection, the Producing Party, to the extent practicable, will identify the protected
  2    portion(s).
  3              5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  4    failure to designate qualified information or items does not, standing alone, waive
  5    the Designating Party’s right to secure protection under this Order for such material.
  6    Upon timely correction of a designation, the Receiving Party must make reasonable
  7    efforts to assure that the material is treated in accordance with the provisions of this
  8    Order.
  9    6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 10              6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 11    designation of confidentiality at any time that is consistent with the Court’s
 12    Scheduling Order.
 13              6.2   Meet and Confer. The Challenging Party will initiate the dispute
 14    resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
 15    et seq.
 16              6.3   The burden of persuasion in any such challenge proceeding will be on
 17    the Designating Party. Frivolous challenges, and those made for an improper
 18    purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 19    parties) may expose the Challenging Party to sanctions. Unless the Designating
 20    Party has waived or withdrawn the confidentiality designation, all parties will
 21    continue to afford the material in question the level of protection to which it is
 22    entitled under the Producing Party’s designation until the Court rules on the
 23    challenge.
 24    7.        ACCESS TO AND USE OF PROTECTED MATERIAL
 25              7.1   Basic Principles. A Receiving Party may use Protected Material that is
 26    disclosed or produced by another Party or by a Non-Party in connection with this
 27    Action only for prosecuting, defending, or attempting to settle this Action. Such
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  1    Protected Material may be disclosed only to the categories of persons and under the
  2    conditions described in this Order. When the Action has been terminated, a
  3    Receiving Party must comply with the provisions of section 13 below (FINAL
  4    DISPOSITION).
  5    Protected Material must be stored and maintained by a Receiving Party at a location
  6    and in a secure manner that ensures that access is limited to the persons authorized
  7    under this Order.
  8          7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  9    otherwise ordered by the court or permitted in writing by the Designating Party, a
 10    Receiving Party may disclose any information or item designated
 11    “CONFIDENTIAL” only to:
 12          (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
 13    as employees of said Outside Counsel of Record to whom it is reasonably necessary
 14    to disclose the information for this Action;
 15          (b) the officers, directors, and employees (including House Counsel) of the
 16    Receiving Party to whom disclosure is reasonably necessary for this Action;
 17          (c) Experts (as defined in this Order) of the Receiving Party to whom
 18    disclosure is reasonably necessary for this Action and who have signed the
 19    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 20          (d) the Court and its personnel;
 21          (e) court reporters and their staff;
 22          (f) professional jury or trial consultants, mock jurors, and Professional
 23    Vendors to whom disclosure is reasonably necessary for this Action and who have
 24    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 25          (g) the author or recipient of a document containing the information or a
 26    custodian or other person who otherwise possessed or knew the information;
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   1         (h) during their depositions, witnesses, and attorneys for witnesses, in the
   2   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   3   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
   4   will not be permitted to keep any confidential information unless they sign the
   5   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
   6   agreed by the Designating Party or ordered by the court. Pages of transcribed
   7   deposition testimony or exhibits to depositions that reveal Protected Material may
   8   be separately bound by the court reporter and may not be disclosed to anyone except
   9   as permitted under this Stipulated Protective Order; and
  10         (i) any mediator or settlement officer, and their supporting personnel,
  11   mutually agreed upon by any of the parties engaged in settlement discussions.
  12

  13   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  14   IN OTHER LITIGATION
  15         If a Party is served with a subpoena or a court order issued in other litigation
  16   that compels disclosure of any information or items designated in this Action as
  17   “CONFIDENTIAL,” that Party must:
  18         (a) promptly notify in writing the Designating Party. Such notification will
  19   include a copy of the subpoena or court order;
  20         (b) promptly notify in writing the party who caused the subpoena or order to
  21   issue in the other litigation that some or all of the material covered by the subpoena
  22   or order is subject to this Protective Order. Such notification will include a copy of
  23   this Stipulated Protective Order; and
  24         (c) cooperate with respect to all reasonable procedures sought to be pursued
  25   by the Designating Party whose Protected Material may be affected.
  26         If the Designating Party timely seeks a protective order, the Party served with
  27   the subpoena or court order will not produce any information designated in this
  28
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   1   action as “CONFIDENTIAL” before a determination by the court from which the
   2   subpoena or order issued, unless the Party has obtained the Designating Party’s
   3   permission. The Designating Party will bear the burden and expense of seeking
   4   protection in that court of its confidential material and nothing in these provisions
   5   should be construed as authorizing or encouraging a Receiving Party in this Action
   6   to disobey a lawful directive from another court.
   7   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   8   PRODUCED IN THIS LITIGATION
   9         (a) The terms of this Order are applicable to information produced by a Non-
  10   Party in this Action and designated as “CONFIDENTIAL.” Such information
  11   produced by Non-Parties in connection with this litigation is protected by the
  12   remedies and relief provided by this Order. Nothing in these provisions should be
  13   construed as prohibiting a Non-Party from seeking additional protections.
  14         (b) In the event that a Party is required, by a valid discovery request, to
  15   produce a Non-Party’s confidential information in its possession, and the Party is
  16   subject to an agreement with the Non-Party not to produce the Non-Party’s
  17   confidential information, then the Party will:
  18                (1) promptly notify in writing the Requesting Party and the Non-Party
  19   that some or all of the information requested is subject to a confidentiality
  20   agreement with a Non-Party;
  21                (2) promptly provide the Non-Party with a copy of the Stipulated
  22   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  23   specific description of the information requested; and
  24                (3) make the information requested available for inspection by the
  25   Non-Party, if requested.
  26         (c) If the Non-Party fails to seek a protective order from this court within 28
  27   days of receiving the notice and accompanying information, the Receiving Party
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   1   may produce the Non-Party’s confidential information responsive to the discovery
   2   request. If the Non-Party timely seeks a protective order, the Receiving Party will
   3   not produce any information in its possession or control that is subject to the
   4   confidentiality agreement with the Non-Party before a determination by the court.
   5   Absent a court order to the contrary, the Non-Party will bear the burden and expense
   6   of seeking protection in this court of its Protected Material.
   7   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   8         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   9   Protected Material to any person or in any circumstance not authorized under this
  10   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  11   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  12   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  13   persons to whom unauthorized disclosures were made of all the terms of this Order,
  14   and (d) request such person or persons to execute the “Acknowledgment and
  15   Agreement to Be Bound” that is attached hereto as Exhibit A.
  16   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  17   PROTECTED MATERIAL
  18         When a Producing Party gives notice to Receiving Parties that certain
  19   inadvertently produced material is subject to a claim of privilege or other protection,
  20   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  21   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
  22   procedure may be established in an e-discovery order that provides for production
  23   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
  24   (e), insofar as the parties reach an agreement on the effect of disclosure of a
  25   communication or information covered by the attorney-client privilege or work
  26   product protection, the parties may incorporate their agreement in the stipulated
  27   protective order submitted to the court.
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   1   12.   MISCELLANEOUS
   2         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   3   person to seek its modification by the Court in the future.
   4         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   5   Protective Order no Party waives any right it otherwise would have to object to
   6   disclosing or producing any information or item on any ground not addressed in this
   7   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   8   ground to use in evidence of any of the material covered by this Protective Order.
   9         12.3 Filing Protected Material. A Party that seeks to file under seal any
  10   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  11   only be filed under seal pursuant to a court order authorizing the sealing of the
  12   specific Protected Material at issue. If a Party's request to file Protected Material
  13   under seal is denied by the court, then the Receiving Party may file the information
  14   in the public record unless otherwise instructed by the court.
  15   13.   FINAL DISPOSITION
  16         After the final disposition of this Action, as defined in paragraph 4, within 60
  17   days of a written request by the Designating Party, each Receiving Party must return
  18   all Protected Material to the Producing Party or destroy such material. As used in
  19   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  20   summaries, and any other format reproducing or capturing any of the Protected
  21   Material. Whether the Protected Material is returned or destroyed, the Receiving
  22   Party must submit a written certification to the Producing Party (and, if not the same
  23   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  24   (by category, where appropriate) all the Protected Material that was returned or
  25   destroyed and (2) affirms that the Receiving Party has not retained any copies,
  26   abstracts, compilations, summaries or any other format reproducing or capturing any
  27   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
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   1   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
   2   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   3   reports, attorney work product, and consultant and expert work product, even if such
   4   materials contain Protected Material. Any such archival copies that contain or
   5   constitute Protected Material remain subject to this Protective Order as set forth in
   6   Section 4 (DURATION).
   7   14.   VIOLATION
   8         Any willful violation of this Order may be punished by civil or criminal
   9   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
  10   authorities, or other appropriate action at the discretion of the Court.
  11   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  12

  13
       Dated: May 31, 2022                            By:    /s/ Trevor W. Barrett
                                                             Scott Alan Burroughs, Esq.
  14                                                         Trevor W. Barrett, Esq.
  15                                                         DONIGER / BURROUGHS
                                                             Attorneys for Plaintiff
  16

  17   Dated: May 31, 2022                            By:    /s/ Staci J. Trager
                                                             Staci J. Trager, Esq.
  18                                                         Aaron Brian, Esq.
  19                                                         NIXON PEABODY LLP
                                                             Attorneys for Defendant
  20                                                         Fashion Nova, LLC.
  21
       Dated: May 31, 2022                            By:     /s/ James A. Mann
  22                                                         James A. Mann, Esq.
  23                                                         Attorney for Defendant
                                                             Wish For Falling Star, Inc.
  24
       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  25

  26
       DATED: May 31, 2022                         __________________________________
  27                                               Hon. Douglas F. McCormick
                                                   United States Magistrate Judge
  28
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   1                                        EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, ____________________________, of _____________________________,
   5   declare under penalty of perjury that I have read in its entirety and understand the
   6   Stipulated Protective Order that was issued by the United States District Court for
   7   the Central District of California on _______ in the case Klauber Brothers, Inc. v.
   8   Fashion Nova, LLC, et al. Case No.: 2:21-cv-03116-DOC-DFM. I agree to comply
   9   with and to be bound by all the terms of this Stipulated Protective Order and I
  10   understand and acknowledge that failure to so comply could expose me to sanctions
  11   and punishment in the nature of contempt. I solemnly promise that I will not
  12   disclose in any manner any information or item that is subject to this Stipulated
  13   Protective Order to any person or entity except in strict compliance with the
  14   provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint ______________________________ of
  19   ___________________________________________________________________
  20   as my California agent for service of process in connection with this action or any
  21   proceedings related to enforcement of this Stipulated Protective Order.
  22   Date: ______________________________________
  23   City and State where signed: _________________________________
  24

  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
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                                                -15-
                                    STIPULATED PROTECTIVE ORDER
